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                 EXHIBIT C
                 Case 3:17-cv-00939-WHA Document 659-3 Filed 06/19/17 Page 2 of 3




From:                             David Perlson <davidperlson@quinnemanuel.com>
Sent:                             Friday, June 16, 2017 2:32 PM
To:                               Ray, Wendy J.; QE-Waymo; jcooper@fbm.com; MCate@fbm.com
Cc:                               UberWaymoMoFoAttorneys; 'BSF_EXTERNAL_UberWaymoLit@bsfllp.com'
                                  (BSF_EXTERNAL_UberWaymoLit@bsfllp.com)
Subject:                          RE: Waymo/Uber - PR compliance/OMM


- External Email -



Wendy, as we noted in relation to Otto Trucking’s request regarding O’Melveny and Myers, Waymo does not
think it is appropriate for Defendants to be asking Waymo to orchestrate a conflict waiver here. This is an
issue you should be addressing with OMM to comply with Defendants’ obligations under the PI Order, not us.

David



From: Ray, Wendy J. [mailto:WRay@mofo.com]
Sent: Thursday, June 15, 2017 2:28 PM
To: David Perlson <davidperlson@quinnemanuel.com>; QE‐Waymo <qewaymo@quinnemanuel.com>;
jcooper@fbm.com; MCate@fbm.com
Cc: UberWaymoMoFoAttorneys <UberWaymoMoFoAttorneys@mofo.com>;
'BSF_EXTERNAL_UberWaymoLit@bsfllp.com' (BSF_EXTERNAL_UberWaymoLit@bsfllp.com)
<BSF_EXTERNAL_UberWaymoLit@bsfllp.com>
Subject: Waymo/Uber ‐ PR compliance/OMM


Dear David,

As part of Uber’s efforts to comply with the requirements of Items Nos. 4 and 5 of the Court’s May 11, 2017 Provisional
Relief order (“PR Order”), Uber has attempted to conduct interviews with lawyers from O’Melveny & Myers who appear
on Uber’s privilege logs. O’Melveny’s general counsel, Martin S. Checov, informed MoFo that because Google is a client
of O’Melveny, its lawyers cannot voluntarily assist Uber with its inquiry without the informed written consent of
Google. Would you please respond to this email, noting that O’Melveny lawyers Eric Amdursky, Paul Sieben, Andy
Trafford, and Kyle Uhlman may provide Uber with information necessary to comply with the requirements of Items Nos.
4 and 5 of the Court’s PR Order?

Best regards,

Wendy




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